Case 1:23-cv-05565-TCB Document 4-1 Filed 12/22/23 Page 1 of 11




           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


BINDLEY SANGSTER,

      Plaintiff,
                                                                    Civil Action File
v.                                                                  No. 1:23-cv-05565-TCB

DELTA AIR LINES, INC,


      Defendant.


DEFENDANT DELTA AIR LINES, INC.’S BRIEF IN SUPPORT OF
             ITS MOTION TO DISMISS

      COMES NOW DELTA AIR LINES, INC., (“Delta”), Defendant in the

above-styled civil case, and hereby files this Brief in Support of its Motion to

Dismiss for Failure to State a Claim under Federal Rule of Civil Procedure

12(b)(6), stating as follows:

                                       INTRODUCTION

      Plaintiff filed his “Complaint for Damages” against Delta on December

5, 2023 and served Delta’s registered agent on December 7, 2023. Plaintiff’s

Complaint alleges that on or about December 6, 2023, Plaintiff was a ticketed

passenger aboard Delta flight 1906 from Hartsfield-Jackson International

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Case 1:23-cv-05565-TCB Document 4-1 Filed 12/22/23 Page 2 of 11




Airport in Atlanta, Georgia enroute to Kingston, Jamaica. See, “Complaint for

Damages,” at ¶17. Assuming Plaintiff is mistaken and has not filed suit for an

incident that had not yet occurred, Delta will proceed under the assumption

that Plaintiff’s allegations occurred on December 6, 2021. Plaintiff alleges

negligent application of 49 U.S.C. § 44902(b), intentional infliction of

emotional distress, and breach of contract/discriminatory practices. Id.,

generally.

      For the reasons outlined here, and detailed further below, this Court

cannot countenance Plaintiff’s Complaint as pleaded. Delta contends that no

relief could be granted to Plaintiff under his theory of recovery. The Plaintiff

was travelling internationally and, as such, the Montreal Convention applies

and preempts state law. Further, the Montreal Convention bars recovery for

passengers claiming damages who did not sustain an actual bodily injury. See,

Eastern Airlines v. Floyd, 499 U.S. 530 (1991). Plaintiff does not even allege

any bodily injury. See, “Complaint,” generally. Ergo, any theory of recovery

predicated upon either the tort of negligence or intentional infliction of

emotional distress is inapposite to operative articles of the Montreal

Convention. Plaintiff’s third count does not even allege any discriminatory

action on the part of Delta and is merely a conclusory legal statement, if that.

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Case 1:23-cv-05565-TCB Document 4-1 Filed 12/22/23 Page 3 of 11




As such, the instant Action and Plaintiff’s Complaint against Delta must be

dismissed with prejudice.

          ARGUMENT AND CITATION OF AUTHORITY

   I.     Standard of Review

   “In assessing a Motion to Dismiss for failure to state a claim under Rule

12(b)(6), the Court must treat all well-pleaded allegations in the complaint as

true. Kostrzewa v. City of Troy, 247 F.3d 633, 638 (6th Cir. 2001). Dismissal

is proper if, on the pleadings themselves, the plaintiff does not have a

‘reasonably founded hope’ of making his or her case.” Bell Atlantic v.

Twombley, 550 U.S. 554, 559 (2007).

   More critically, “the tenet that a court must accept as true all of the

allegations contained in a complaint is inapplicable to legal conclusions.

Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice. Although for the purposes of

a motion to dismiss we must take all of the factual allegations in the complaint

as true, we ‘are not bound to accept as true a legal conclusion couched as a

factual allegation’” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). “Determining

whether a complaint states a plausible claim for relief will, […], be a context-

specific task that requires the reviewing court to draw on its judicial

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 Case 1:23-cv-05565-TCB Document 4-1 Filed 12/22/23 Page 4 of 11




experience and common sense.” Id.

   II.    Applicable Substantive Law

             A. The Montreal Convention is the Applicable Governing

                   Law and Preempts State Law Claims.

   “When the Montreal Convention became effective on November 4, 2003,

it replaced the Warsaw Convention (the Convention for the Unification of

Certain Rules Relating to International Carriage by Air, signed at Warsaw on

October 12, 1929, as amended by the Protocol done at the Hague on

September 8, 1955, reprinted in S. Exec. Rep. No. 105–20 (1998)). Eli Lilly

& Co. v. Air. Exp. Int'l USA, Inc., 615 F.3d 1305, 1308 (11th Cir.

2010). ‘Consistent with explicit legislative intent, “it is appropriate to rely on

cases interpreting the Warsaw Convention where the equivalent provisions of

the Montreal Convention” (such as Article 17) are at issue.’” Ugaz v. Am.

Airlines, Inc., 576 F. Supp. 2d 1354, 1360 (S.D. Fla. 2008).

   The Montreal Convention preempts state law claims falling within its

scope and, “[a]s a treaty of the United States, the Convention is

considered...the supreme law of the land.” Best v. BWIA W. Indies Airways

Ltd., 581 F.Supp.2d 359, 362 (E.D.N.Y.2008). The Montreal Convention

affords the exclusive remedy for any personal injury suffered on board an

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Case 1:23-cv-05565-TCB Document 4-1 Filed 12/22/23 Page 5 of 11




international flight or during any operations of embarking or disembarking.

Aikpitanhi v. Iberia Airlines of Spain, 553 F.Supp.2d. 872, 878-9 (E.D. Mich.

2008); see also Jones v. USA 3000 Airlines, 08-CV-1855, 2009 WL 330596,

*3 (E.D. Mo. Feb. 9, 2009). Article 29 of the Montreal Convention preempts

all state law claims that fall within its scope but do not satisfy the conditions

for liability under the treaty. See Ugaz v. American Airlines, Inc., 576

F.Supp.2d 1354, 1360 (S.D. Fla. 2008); Rafailov v. El Al Israel Airlines, Ltd.,

06cv13318, 2008 WL 2047610 at *2 (S.D.N.Y. May 13, 2008)

(acknowledging the Montreal Convention preempts state law). As such, the

treaty “preempts the remedies of a signatory's domestic law, whether or not

the application of the Convention will result in recovery in a particular case.”

Best v. BWIA W. Indies Airways Ltd., 581 F.Supp.2d 359, 362. The

consequence is that if the Convention does not afford a remedy for the claim,

the passenger may not resort to local law. See, e.g., Marotte v. Am. Airlines,

Inc., 296 F.3d 1255, 1259 (11th Cir. 2002).

             B. Delta Cannot Be Held Liable Under the Montreal

                   Convention Because Plaintiff Does Not Allege That Any

                   Injury Occurred While Plaintiff Was Embarking,

                   Aboard, or Disembarking the Aircraft.

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Case 1:23-cv-05565-TCB Document 4-1 Filed 12/22/23 Page 6 of 11




   Under Article 17 of the Montreal Convention, a covered carrier may be

liable “for damage sustained in case of death or bodily injury of a passenger

upon condition only that the accident which caused the death or injury took

place on board the aircraft or in the course of any of the operations of

embarking or disembarking.” See, Convention for the Unification of Certain

Rules for International Carriage by Air Concluded at Montreal art. 17, opened

for signature May 28, 1999, 2242 U.N.T.S. 309, S. Treaty Doc. No. 106–45

(“Montreal Convention” or “Convention”)

      “To prevail on a bodily injury claim under the Montreal Convention,

which governs the international air carriage of passengers, baggage, and

cargo, a plaintiff must establish: (1) the occurrence of an ‘accident’ within the

meaning of the Convention; (2) the ‘accident’ occurred on the aircraft or

during the embarking or disembarking process; and (3) the plaintiff suffered

bodily injury caused by the ‘accident.’” See, Marotte v. Am. Airlines, Inc.,

296 F.3d 1255, 1259–60 (11 th Cir. 2002).

      It is clear that the Plaintiff was on board an international flight and

alleges personal injury resulting from his alleged removal. See, “Complaint,”

generally. As such, the Montreal Convention provides the exclusive remedy

in the instant case. The allegations contained in Plaintiff’s Complaint fail,

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Case 1:23-cv-05565-TCB Document 4-1 Filed 12/22/23 Page 7 of 11




however, to claim any physical injury or accident whatsoever. Id. The United

States Supreme Court has held that, “...an air carrier cannot be held liable

under Article 17 when an accident has not caused a passenger to suffer death,

physical injury, or physical manifestation of injury.” Eastern Airlines v.

Floyd, 499 U.S. 530, 552 (1991). As such, Plaintiff’s negligence claim as well

as his claim of intentional infliction of emotional distress must be dismissed.

             C. In Addition to the Reasons Stated Above, Plaintiff’s

                   Claim in Count Three is Also, at Best, a Conclusory

                   Unsupported Legal Statement and is Insufficient to State

                   a Claim on Which Relief May be Granted.

   Plaintiff’s Complaint is riddled with such legal conclusions masquerading

as factual allegations that defy any reasonable inference that Delta could be

liable. Delta can only assume that Count Three of Plaintiff’s Complaint

purports to allege that Delta breached its contract by refusing transportation

based upon race, color, national origin, religion, sex or ancestry. See,

“Complaint,” generally. However, Count Three of Plaintiff’s complaint

simply recites Delta’s Contract of Carriage Rule 7(E) stating that Delta will

not refuse to provide transportation for discriminatory reasons and then states

that Plaintiff suffered damages. See, “Complaint,” at ¶36-37. Plaintiff does

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Case 1:23-cv-05565-TCB Document 4-1 Filed 12/22/23 Page 8 of 11




not even make a conclusory legal statement that Delta discriminated against

him, much less an alleged factual basis to support such a claim. Finally, and

also fatal to Plaintiff’s Complaint, at no point does he allege that Delta or its

employees, agents, or representatives removed him because of his race, color,

national origin, religion, sex or ancestry. Id. Plaintiff has failed, in all three

counts, to clearly, appropriately, or correctly state claims and allegations of

fact upon which relief may be granted.                            This claim falls in line with the

entirety of the Complaint and Plaintiff suffered no physical harm or injury

while embarking, on board, or while disembarking from the flight in question

and as such must be barred from recovery per the Convention. Plaintiff has

failed to allege any facts in his third count that would or could form the basis

of a valid claim. The instant Complaint must be dismissed.

                                          CONCLUSION

      Plaintiff’s Complaint is legally deficient to establish liability of Delta

under the Montreal Convention. The vagaries of his factual allegations are

self-servingly intended to hold Delta liable for an incident that neither harmed

him in any way nor discriminated against him in any way. His Complaint fails

under both the precedents of the United States Supreme Court and this Circuit

under even the most generous reading of the allegations in h is Complaint.

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Case 1:23-cv-05565-TCB Document 4-1 Filed 12/22/23 Page 9 of 11




Therefore, the burdens to impose liability under the Montreal Convention

have not been met and Plaintiff’s Complaint against Delta must be dismissed.

      Respectfully submitted,

      This 22nd day of December, 2023.


                                                   Attorneys for Defendant Delta Air Lines,
                                                   Inc.

                                                        THE GODSEY FIRM, LLC

                                             By: /s/ Brian M. Dossena
                                                 J. GREGORY GODSEY
                                                 Georgia State Bar No. 298577
                                                 BRIAN M. DOSSENA
                                                 Georgia State Bar No. 277119




                                                       9

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Case 1:23-cv-05565-TCB Document 4-1 Filed 12/22/23 Page 10 of 11




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BINDLEY SANGSTER,

      Plaintiff,
                                                                    Civil Action File
v.                                                                  No. 1:23-cv-05565-TCB

DELTA AIR LINES, INC,


      Defendant.

                        CERTIFICATE OF COMPLIANCE

      The foregoing DEFENDANT DELTA AIR LINES, INC.’S BRIEF

IN SUPPORT OF ITS MOTION TO DISMISS is double spaced in 14-

point Times New Roman font and complies with the type-volume limitation

set forth in Local Rule 7.1.

      This 22nd day of December, 2023 by:



                                                         /s/ Brian M. Dossena
                                                         J. GREGORY GODSEY
                                                         Georgia State Bar No. 298577
                                                         BRIAN M. DOSSENA
                                                         Georgia State Bar No. 277119




                                                       10

            The Godsey Firm, LLC | 659 Auburn Ave NE, Suite 124 | Atlanta, Georgia 30312 | 404.582.0001
Case 1:23-cv-05565-TCB Document 4-1 Filed 12/22/23 Page 11 of 11




                           CERTIFICATE OF SERVICE

      Pursuant to U.S.C.R. 36.16 (E), I HEREBY CERTIFY that on this day

I have served a copy of the within and foregoing Brief in Support of Delta’s

Motion to Dismiss upon all parties to this matter by depositing same in the

U.S. Mail, proper postage prepaid, addressed to counsel of records as follows

and/or filing said document with CM/ECF system which will automatically

send electronic notification to the following:

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                                 Lauren Travis
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                              sh@hartlawyers.com
                              lt@hartlawyers.com

                                     Attorneys for Plaintiff

      This 22nd day of December, 2023.



                                                        /s/ Brian M. Dossena
                                                          J. GREGORY GODSEY
                                                          BRIAN M. DOSSENA




                                                      11

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